The Honorable Claire C. McCaskill Missouri State Auditor 224 State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated April 3, 2001, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning the initiative petition proposal to amend Section 195.010, RSMo.  The fiscal note summary which you submitted is as follows:
  The estimated direct fiscal impact to state government to differentiate between legalized marijuana containing 0.5% tetrahydrocannabinol or less by dry weight and illegal marijuana containing greater than 0.5% tetrahydrocannabinol is $1,370,000 initially and $670,000 annually in subsequent years.  The indirect fiscal impact on state and local governments, if any, is unknown.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
JEREMIAH W. (JAY) NIXON
Attorney General
Attached is Missouri Attorney General Opinion Letter No. 171-2001 issued on April 13, 2001.  For purposes of indexing, we are summarizing the opinion as follows:
  Review and approval of legal content and form of fiscal note and fiscal note summary for initiative petition pursuant to Section 116.175, RSMo, concerning the initiative petition proposal to amend Section 195.010, RSMo.
We are indexing the opinion under the heading: Initiatives.
SHELTERED WORKSHOPS:         A sheltered workshop established by a SUNSHINE LAW:                not-for-profit corporation is a FINANCIAL RECORDS:           quasi-public governmental body and its DEPARTMENT OF ELEMENTARY     financial records are subject to the AND SECONDARY EDUCATION:     provisions of Chapter 610, RSMo.
SHELTERED WORKSHOPS:         A sheltered workshop established by a SUNSHINE LAW:                not-for-profit corporation is a FINANCIAL RECORDS:           quasi-public governmental body and its DEPARTMENT OF ELEMENTARY     financial records are subject to the AND SECONDARY EDUCATION:     provisions of Chapter 610, RSMo.